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 7
                            UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
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10    FORMOSA TELEVISION CO., LTD, a ) Case No.: 2:15-cv-8575 CAS (SSx)
      Taiwanese corporation; GOLDIA ONE )) [Proposed] ORDER DISMISSING
11
      VISION COMPANY LIMITED, a              ) CASE
12    Canadian limited liability company,    )
                                             )
13
                                             )
                       Plaintiff,            )
14
                                             )
            vs.                              )
15
                                             )
      VIETFACE MEDIA GROUP, INC., a )
                                             )
16    California corporation; VIETFACE TV )
17    HOUSTON CORPORATION; a Texas )
      corporation; VIETV NETWORK, LLC ))
18
      a Texas limited liability company; and )
19    DOES 1-10, Inclusive                   )
                                             )
                    Defendants               )
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                                             )
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                                             )
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23
            The Court, having considered the Stipulation for Dismissal filed by Plaintiffs
24    Formosa Television Co. Ltd. and Goldia One Vision Company Ltd. (collectively
25    “Plaintiffs”) and Defendants Vietface Media Group, Inc., Vietface TV Houston
26    Corporation, and Vietv Network, LLC (“Defendants”) and good cause appearing,
27    hereby orders as follows:
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                                            Page	1	                        Order	on	Dismissal	
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 1
            This case is hereby dismissed with prejudice. each Party, to bear his, her, or
 2
      its own costs of suit and attorneys’ fees.
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 4
            IT IS SO ORDERED.
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      DATED: _November 7, 2016                          ______________________________
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                                                        Hon. Christina S. Snyder
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                                              Page	2	                       Order	on	Dismissal	
